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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

STATE OF CALIFORNIA, et. ai,
Plaintiffs,
Vs.

INFINEON TECHNOLOGIES AG, ev. al.,

Defendants.

ORDER

Case No.: C 06-4333 PJH

[PROPOSED] ORDER GRANTING
PLAINTIFF STATE OF FLORIDA’S
MOTION TO STRIKE

Plaintiff State of Florida has moved to strike several of Defendants’ Affirmative

Defenses to the Plaintiffs’ Third Amended Complaint. The Court, having reviewed the

moving, opposition and reply papers, and all other papers in this action, finds that the State of

Florida’s Motion to Strike Elpida Memory, Inc.’s and Elpida Memory (USA) Inc.’s sixtieth

PLAINTIFF FLORIDA’S [PROPOSED] ORDER GRANTING MOTION TO STRIKE

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Affirmative Defense, Hynix’s sixty-second Affirmative Defense, Infineon Technologies North
American Corp. and Infineon Technologies AG’s forty-third Affirmative Defense, Micron
Technology Inc.’s and Micron Semiconductor Products, Inc.’s forty-third Additional Defense,
Nanya Technology Corporation’s Affirmative Defenses eleven and sixty-four, Nanya
Technology Corporation USA’s Affirmative Defenses eleven and sixty-four, and NEC
Electronics America Inc.’s sixty-seventh and sixty-ninth Affirmative Defenses should be
granted and the above Affirmative Defenses shall be stricken from the record.!

For the foregoing reasons, it is hereby ORDERED that Plaintiffs’ Motion to Strike

is GRANTED.

IT IS SO ORDERED.

HON. PHYLLIS J. HAMILTON
United States District Judge

' To the extent each Defendant has adopted the Affirmative Defenses hereby stricken, they
shall be deemed stricken from that Defendant’s Answer as well, including the Answers of

Mosel Vitelic Inc. and Mosel Vitelic Corporation, to the extent they have pled the stricken
Affirmative Defenses.

PLAINTIFF FLORIDA’S [PROPOSED] ORDER GRANTING MOTION TO STRIKE
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